Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 1 of 74




                     EXHIBIT 11
       Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 2 of 74

                           Desk_PH_Ri    g   ht_201 7-05.20_0 8_24_40



 PCO Behler:      But now he's calling her, and he won't, she won't answer the phone
                  because that's in violation too, Yeah, that's why I asked, what'd he
                  do?
 Anthony Ardo:    Hello.
 PCO Behler:      Hello, is this Anthony Ardo?
 Anihony Ardo:    Who is this?
 PCO Behler;      This is Pennsylvania State Police.
 Anthony Ardo:    Ok, so uh, what's the problem?
 PCO Behler:      Well, here,here's, here's the problem. Your uh mother, Jean
                  Monaghan.
 Anthony Ardo:    Yeah, she kicked me out of the house, so I don't care to even hear
                  her name.
 PCO Behler:      Ok, that's fine. And uh, so, you haven't, where, can I ask where you
                  are now sir?
Anthony Ardo:     No.

 PCO Behleri     ok.
Anthony Ardo:    lf it's any concern of yours, all l'm gonna do is do what r have to do, r'll
                 either cut my throat or cut my wrist and l'll go over to the psych
                 hospital, How does that sound to you?
PCO Behler:      No, you shouldn't do that sir.
Anthony Ardo:    Ok, wel[, you see, l'm, l'm not gonna listen to you. My own mother,
                 that I worked for, for five years had the nerye to throw me outl
PCO Behler:      Ok, well, l'm just calling to uh check your welfare,

Anthony Ardo:    Yeah, my welfare's fine right now until I decide to cut my throat, then it
                 won't be.
PCO Behler:      Ok, so you're not gonna tell me where you are sir?
Anthony Ardo:    Hell   nol   Nope, cause allyou're gonna do is 302 me.
PCO Behier:      No, l'm not gonna 3O2ya. ljust want to make sure you're safe.
Anthony Ardo:    Uh, l, l'm fine.

PCO Behler:      Ok, your mother threw you out this morning?

Anthony Ardo;    My mother threw me out last night because

PCO Behler:      ok.
                                                                                                (o
                                                                        ATTACHMENT /I
                                                               PAGE A OT-9, fi
                                                                                                 DEF0001641
           Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 3 of 74

    Anthony Ardo:    She thinks l'm gonna work on a horse farm and break my ass for $20
                     a day when that wasn't the agreement. And she paid so many people
                     under the table with cash, and, and, and the lRS. lf she wants to do
                     that, l'll report her to the lRS. She wants to play games' She's
(                    planting marijuana all over the farm, and she wants to kick me out'
                     We're gonna find out. lf I'm not dead before this, lf

    PCO Behler:      Well, uh, lwouldn't, lwouldn't
    -AnthonY Ardo:   before the freakin court date

    PCO Behler:      Sir,'l wouldn't do that sir.
    Anthony Ardo:    I don't give a shit.

    PCO Behler:      I   wouldn't do that to Yourself.

    Anthony Ardo:    Yeah, well you know what, you try steeping outside, no food, nothing
                     and you tell me how You feel.

    PCO Behler:      ok.
    Anthony Ardo:    Alright!
    PCO Behler:      I could give you uh, some places you can stay if you wish to do that.

    Anthony Ardo:    Yeah, no. l'llwork it out mYself.

    PCO Behler:      ok
(    Anthony Ardo:   Thanks for your concern.
\
     PCO Behler:     ok.
    Anthony Ardo:    Tell my mother when she sees a bunch of smoke coming up off the
                     mountain, she knows l'm fuckin dead.

    PCO Behler:      Alright.

    Anthony Ardo:    That'll be the fuckin sign that she knows I fucking shot antifreeze in
                     my fucking veins and cut my fucking throat and wait to die' And she'll
                     see the car on fire, So, you can go ahead and tell her that.

    PCO Behler:      ok.
    Anthony Ardo:    I'll see you around. You'll know when I do it cause there'll be calls
                     and guarantee by the time you get there l'll make sure l'm fucking
                     dead. t'll tape a fuckin quarter stick around my neck and blow my
                     fucking head off, before you even guys get to rne' Alright'
    PCO Behler:      But you're not gonna tell me where you are sir?

    Anthony Ardo:    I'm not hurtin nobody else except myself. Alright?

    PCO Behler:      ok.



                                                                                              co
                                                                     PAGEW                    DEF0001642
          Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 4 of 74
    Anthony Ardo:   I got nowhere to go. My mothers got my food card. She uses it
                    without my permission. I have no food. l've got no money. My car's
                    on,"e". I don't have shitl My best option is to end it. And that's what
                    l'm gonna do.
I
    PCO Behler:     Ah, I wish you would reconsider that sir.
    Anthony Ardo:   Yeah, you don't know me and you know what, you're doing your job.
                    You could give two shits about me.
    PCO Behler:     No, ldon't have
    Anthony Ardo:   You don't know me and you don't give a shit about me so don't try to
                    play me like you do!
    PCO Behler:     Well, l'm just trying to find out where you for your safety.
    Anthony Ardo:   Yeah, so you can pick me up and fucking 302 me! Good tuck. Try to
                    find rne before I blow my fucking head off! Don't call me no more.
    PCO Behler:     Ok. Very good.




(




                                                                                              lo
                                                                            ATTACHMENT        /\
                                                                  PAGE             ? oF       7O
                                                                                               DEF0001643
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 5 of 74




                    EXHIBIT 12
         Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 6 of 74

                         Desk-P H-Ri    gh   t-20 1 7-05-20-0 I             4
                                                                  -3:t -4


    PCO Behler:   Eddie, what's up?
(
    Pagan:        Hey, what's, what's the dealwith this guy?

    PCO Behler:   Ahh, he said he's gonna commit suicide. He was at her house at five
                  o'cock this morning. she got a PFA on him. um, Jay',s gonna head
                                                                                       we
                  down with ya to talk to her. She called suicidal hotline. They said
                  could do a uh, an involuntary commitment, but we don't know where
                  he is. He left at five o'clock this morning. He's in a Buick Reatta, blue
                  in color. He, I uh talked to him. He doesn't want me to call him
                                                                                     back'
                  He says he's gonna slit his throat, cut his wrist. Um, doesn't want  me
                  to call him. He said when there's smoke coming up from the
                  mountains, she'll, she'll know that he did something to him'

    Pagan:        ok.
    PCO Behler:   Alright?

    Pagan:        Alright, excellent.

    PCO Behler:   that's al[, that's the base of it, so I'm gonna call her back, tell her
                  you're coming down to talk to her along with Jay' Uh, we can go from
                  ih"r*, but t don't know about pinging his phone yet or anything, so.
                  Cause he won't tell me where he is.

    Pagan:        Alright, he said it's a blue what?

    PCO Behler:    A btue Buick Reatta. I have no reg.

    Pagan:        Blue Buick Reatta. ok, l'll, I'll google that. I don't know what the hell
                  it looks like.

    PCO Behler:   ok.
    Pagan:        Alight, thanks man, bYe.

    PCO Behler:   Yep.



    PCO Behler:   State Police Belfast, PCO Behler.

    County:       Hey, it's Monroe CountY. How are You?
    PCO Behler:   Good.

    County:       Did you get that crash ai mile marker 15 south bound'

    PCO Behler:    15 south bound? No.

    County:       Yeah, it,s one vehicle spun out. I believe unknown injuries. or,
                  excuse me, I believe negative injuries-

                                                                                              (v
                                                                            PAGE   Ttr\T!3b   DEF0001644
              Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 7 of 74
    PCO Behler:       Ok. Did you just, did you have a phone number of anybody called
                      you, or was it a bypasser?

    County:           It was a passerby. I have,
I
    PCO Behler:       Someone called
    County:           I happen to have her name and number. Yep, I have her name and
                      number if you'd like it, but it was just one call.
    PCO Behler:       Yeah
    County:           It's uh, Sarah Evans.
    PCO Behler:       uh, huh.

    County:           Area code 610-9, 905
    PCO Behler:       uh, huh.
    County:           7603
    PCO Behler:       ok.
    County:           Alright, thank you.
    Behler:           Thanks.




(




                                                                         ATTACHMENT
                                                                                        (O
                                                                PAGE        (( oF       qab
                                                                                         DEF0001645
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 8 of 74




                      EXHIBIT 13
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 9 of 74




                                                                   DEF0000328
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 10 of 74




                                                                    DEF0000329
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 11 of 74




                                                                    DEF0000330
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 12 of 74




                                                                    DEF0000331
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 13 of 74




                                                                    DEF0000332
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 14 of 74




                                                                    DEF0000333
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 15 of 74




                                                                    DEF0000334
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 16 of 74




                                                                    DEF0000335
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 17 of 74




                                                                    DEF0000336
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 18 of 74




                                                                    DEF0000337
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 19 of 74




                                                                    DEF0000338
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 20 of 74




                                                                    DEF0000339
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 21 of 74




                                                                    DEF0000340
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 22 of 74




                                                                    DEF0000341
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 23 of 74




                                                                    DEF0000342
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 24 of 74




                                                                    DEF0000343
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 25 of 74




                                                                    DEF0000344
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 26 of 74




                                                                    DEF0000345
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 27 of 74




                                                                    DEF0000346
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 28 of 74




                                                                    DEF0000347
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 29 of 74




                                                                    DEF0000348
      Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 30 of 74




                                   EXHIBIT 14
This exhibit is the recording from Eddie Pagan’s Patrol Vehicle Mobile Video Recording Unit. A
DVD containing a copy of the recording has been provided the Clerk’s office.
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 31 of 74




                     EXHIBIT 15
       Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 32 of 74




                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANGELO ARDO, et al.,                              :               CIVIL ACTION
                                                  :
         Plaintiff,                               :
                                                  :
                      v.                          :
                                                  :
OFFICER EDDIE PAGAN, et al.,                      :
                                                  :
         Defendant.                               :               NO. 18-5217

              DEFENDANT PAGAN’S RESPONSES AND OBJECTIONS TO
                 PLAINTIFF’S FIRST SET OF INTERROGATORIES

       Defendant Pennsylvania State Police (“PSP”), by undersigned counsel, responds to

Plaintiff’s First Set of Interrogatories Directed to Pennsylvania State Police as follows:

INTERROGATORY NO. 1:




RESPONSE TO INTERROGATORY NO. 1:

       The Pennsylvania State Police (PSP) has regulations that govern the use-of-force policies

and procedures for the department.Various affected Bureaus within the PSP are assigned process

ownership of the regulation and are responsible for ensuring the content is accurate/complete and

meets applicable legal standards. When a revision needs to be made to the regulation, the process

owner submits proposed revisions, through channels, to the Bureau of Research and

Development for review, vetting, approval, and publication. The Bureau of Training and

Education, Bureau of Research and Development, and PSP Office of Chief Counsel all play a

primary role in the creation, development, adoption, revision, and approval of the PSP use-of-

force policy (with the Bureau of Training and Education and the Office of Chief Counsel serving

as co-process owners for the regulation). General protocols for the creation, development,

                                                 1
       Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 33 of 74




adoption, revision, and approval of Department regulations are governed by PSP Administrative

Regulation (AR) 1-2, Directives, Regulations, and Correspondence. A copy of AR 1-2 is

produced herewith, bearing Bates-stamp Nos. DEF002210 – DEF002231.

INTERROGATORY NO. 2:




RESPONSE TO INTERROGATORY NO. 2:

       PSP objects to this Interrogatory on the grounds that, due to the broad wording of this

Interrogatory, it is impractical to ascertain the name of every person who would be responsive to

this request. Subject to and without waiving the foregoing objections, PSP responds as follows:

       The Bureau of Training and Education, Bureau of Research and Development, and PSP

Office of Chief Counsel all play a role in the creation, development, adoption, revision, and

approval of the PSP use-of-force policy. With the input and assistance of subject-matter experts

and Commanders/Directors from these entities, final execution and promulgation of the policy is

ultimately made by the Commissioner of the PSP. Listed below are the names and titles of

individuals who were likely involved in drafting/reviewing/approving revisions to the PSP use-

of-force policy over the last five years:

       Executive and Administrative Offices: Colonel Robert Evanchick, Colonel (Ret.) Tyree

C. Blocker, Ms. Marlana L. Sattazahn, Lieutenant Gerald E. Williams, Sergeant Leslie E. Barr,

Lieutenant Colonel (Ret.) James E. Degnan, Ms. Staci E. Fleming, Lieutenant Christopher M.

King, Lieutenant Colonel Scott C. Price, Ms. Bianca C. Cole, Lieutenant Christopher Jones,

Lieutenant Colonel (Ret.) Edward C. Hoke, Ms. Kathleen M. Clouser, Lieutenant Patrick A.

Beaver, Lieutenant Colonel (Ret.) Lisa S. Christie, Captain (Ret.) Anthony J. Sivo, Lieutenant



                                                2
       Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 34 of 74




Colonel (Ret.) Stephen A. Bucar, Lieutenant Colonel (Ret.) William A. Horgas, Captain

Matthew D. Nickey, and Captain William A. Brown.

       Bureau of Research and Development: Major Patrick D. Brinkley, Ms. Billie J.

Kauffman, Mr. Daniel P. McDermott, Ms. Jessica L. Wenner (Retired), Ms. Regina O’Hara,

Sergeant Tyler P. Burgess, Corporal William E. Winner, Lieutenant (Ret.) Robert F. Kelly,

Sergeant Seth J. Kelly, Lieutenant William J. McAreavy Jr, Lieutenant Laura M. Klinger,

Corporal Zena C. Knock, and Trooper David J. Duddy.

       Bureau of Training and Education: Major Thomas E. Dubovi, Major (Ret.) William P.

White, Captain Joanne R. Reed, Captain Wayne C. Kline (Commanding Officer, Troop C),

Lieutenant Scott W. Ohl, Sergeant Timothy J. Fetzer, Corporal (Ret.) Deron A. Julian, and

Corporal Kevin E. Selverian.

       Office of Chief Counsel: Daniel C. Beck, Esq. (present Chief Counsel); Nolan Meeks,

Esq. (former Acting Chief Counsel); Joanna N. Reynolds, Esq. (former Chief Counsel – Ret.);

and/or their designee(s).

INTERROGATORY NO. 3:




                                               3
       Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 35 of 74




RESPONSE TO INTERROGATORY NO. 3:

       PSP objects to this Interrogatory on the grounds that, due to the broad wording of this

Interrogatory, it is impractical to ascertain the name of every person who would be responsive to

this request. Subject to and without waiving the foregoing objections, PSP responds as follows:

       The Office of Chief Counsel plays a primary role in ensuring the PSP use-of-force policy

meets all constitutional and/or legal standards, including any applicable requirements under the

Americans with Disabilities Act. With the advice of the Office of Chief Counsel, final execution

and promulgation of the policy is ultimately made by the Commissioner of the PSP. Listed

below are the names and titles of individuals from the Office of Chief Counsel who have been

involved in reviewing/endorsing (or assigning designees to review/endorse) any proposed

changes to the PSP use-of-force policy over the last five years:

       •   Current Chief Counsel: Daniel C. Beck, Esq. (January 2020 to Present)
       •   Former Acting Chief Counsel: Nolan Meeks, Esq. (July 2019 to January 2020)
       •   Former Chief Counsel: Joanna N. Reynolds, Esq. (Unknown to July 2019)

INTERROGATORY NO. 4:




RESPONSE TO INTERROGATORY NO. 4:
       There have been several formal reviews and internal proposed changes to the current use-

of-force policy since its adoption.




                                                 4
       Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 36 of 74




INTERROGATORY NO. 5:




RESPONSE TO INTERROGATORY NO. 5:
       PSP objects to this Interrogatory on the grounds that, the phrase “external source” is

vague and ambiguous. Subject to and without waiving the foregoing objection, PSP is not aware

of any such proposals and/or requests.

INTERROGATORY NO. 6:




                                                5
       Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 37 of 74




RESPONSE TO INTERROGATORY NO. 6:

       Defendants object to this Request on the grounds that it is overly broad, unduly

burdensome to comply with, and not proportional to the needs of this case. PSP does not

maintain any data specific to incidents involving individual/suspects believed to possess a bomb

or other explosive device. PSP does not maintain data in a manner that would allow the

information sought to be gathered without reviewing every individual incident reports, which

would be entirely impractical, and require a great burden and expense. The burden and expense

on Commonwealth Defendants of responding outweighs any benefit such information could

confer on Plaintiffs in their prosecution of this lawsuit.

INTERROGATORY NO. 7:




                                                  6
       Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 38 of 74




RESPONSE TO INTERROGATORY NO. 7:

       Defendants object to this Request on the grounds that it is overly broad, unduly

burdensome to comply with, and not proportional to the needs of this case. PSP does not

maintain any data specific to incidents involving individual/suspects who have threatened self

harm. PSP does not maintain data in a manner that would allow the information sought to be

gathered without reviewing every individual incident reports, which would be entirely

impractical, and require a great burden and expense. The burden and expense on Commonwealth

Defendants of responding outweighs any benefit such information could confer on Plaintiffs in

their prosecution of this lawsuit. PSP further objects to this Request on the grounds that it seeks

individual incident information. This information would reveal personal and private information

of individuals not related to this lawsuit and would invade the privacy of those individuals.

       Subject to and without waiving the foregoing objections, PSP will provide data relating to

mental health related incidents and officer-involved shootings for 2017-2019. This data is

provided in the Mental Health and OIS Data chart, produced herewith, bearing Bates-stamp No.

DEF002232.




                                                 7
    Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 39 of 74




INTERROGATORY NO. 8:




RESPONSE TO INTERROGATORY NO. 8:

    See response to Interrogatory No. 7, above.

INTERROGATORY NO. 9:




RESPONSE TO INTERROGATORY NO. 9:

    PSP has not identified any responsive actions.




                                            8
       Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 40 of 74




INTERROGATORY NO. 10:




RESPONSE TO INTERROGATORY NO. 10:

       The Department provides yearly updated use of force training through the Mandatory In-

Service Training (“MIST”) platform. In 2017, the MIST platform consisted of an online review

of Use of Force Legal and Policy Standards and also practical Use of Force Response Scenario

Training.

       In 2018, MIST included a classroom portion on Practical De-escalation which involved

some mental health issues being addressed. The 2018 program also included a portion on ground

fighting and a portion on weapons transitions.

       The 2018 online program also included segments on Shooting at or From Moving Motor

Vehicles as well as a portion on Prisoner Security and considerations involved with Less-Lethal

Force Options.




                                                 9
       Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 41 of 74




INTERROGATORY NO. 11:




RESPONSE TO INTERROGATORY NO. 11:

       All PSP troopers, as with all Commonwealth employees, receive training on the

Americans with Disabilities Act. This training is provided by a separate Commonwealth agency,

the Office of Administration, which maintains all information on this training material.



                                                     Respectfully submitted,

                                                     JOSH SHAPIRO
                                                     Attorney General

                                             BY:     /s/ Kathy A. Le
                                                     KATHY A. LE
Office of Attorney General                           Deputy Attorney General
1600 Arch Street, Suite 300                          Attorney I.D. No. 315677
Philadelphia, PA 19103
Phone: (215) 560-2141                                KAREN M. ROMANO
Fax: (717) 772-4526                                  Chief Deputy Attorney General
                                                     Chief, Civil Litigation Section

                                                     Counsel for Defendants




                                                10
       Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 42 of 74




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
ANGELO ARDO, et al.,                   :          CIVIL ACTION
                                       :
      Plaintiff,                       :
                                       :
                 v.                    :
                                       :
OFFICER EDDIE PAGAN, et al.,           :
                                       :
       Defendant.                      :          NO. 18-5217

                               CERTIFICATE OF SERVICE
        I, Kathy A. Le, hereby certify that Pennsylvania State Police’s Responses and Objections
to Plaintiff’s First Set of Interrogatories was sent by electronic mail on July 20, 2020 to:

       L. Anthony DiJiacomo, III
       Weisberg Law
       7 S. Morton Ave.
       Morton, PA 19070
       adijiacomo@weisberglawoffices.com



                                                     BY: /s/ Kathy A. Le
                                                         KATHY A. LE
                                                         Deputy Attorney General




                                               11
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 43 of 74




                      EXHIBIT 16
      Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 44 of 74




                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANGELO ARDO, et al.,                            :              CIVIL ACTION
                                                :
         Plaintiffs,                            :
                                                :
                   v.                           :
                                                :
OFFICER EDDIE PAGAN, et al.,                    :
                                                :
         Defendant.                             :              NO. 18-5217

                                       DECLARATION
1.     I, Corporal Kevin Selverian, presently serve as a Use of Force Specialist within the Use
of Force Unit of the Bureau of Training & Education, with the Pennsylvania State Police
(“PSP”). A detailed description of my experience and education is set forth in my resume, a copy
of which is attached hereto as Exhibit 1.

2.     The Use of Force Unit serves several functions, including but not limited to:

           a. The development and coordination of use of force instruction provided to PSP
              cadets and active members of the department.

           b. The presentation of PSP use of force training programs to law enforcement and
              civilian audiences.

           c. The revision of existing PSP use of force trainings, when appropriate.

           d. The continued review of the PSP Use of Force Policy.

           e. The provision of suggested alterations to the PSP Use of Force Policy, when
              appropriate.

           f. The analysis and provision of expert testimony in relation to police use of force
              incidents.

           g. The provision of consultation services to the PSP and outside governmental
              agencies concerning police use of force matters.

3.      The PSP Use of Force Policy contains mandates and considerations regarding the
appropriate application of force by Department members while in the performance of their
prescribed duties. The policy is founded upon current constitutional and statutory requirements,
with an emphasis upon precedent case law.
       Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 45 of 74




4.     The PSP Use of Force Policy states, in part, “Members and enforcement officers are
authorized to use reasonable force, when necessary, in the performance of their duties, after
consideration of the totality of the circumstances, to successfully attain lawful objectives.” The
referenced standard is applicable to all manners of force employed by members of the
Department, no matter the classification of person upon whom the force is used.

5.     While the PSP Use of Force Policy promotes a single standard of “objective
reasonableness” in relation to the proper application of force, members of the Bureau of Training
and Education provide particularized instruction to both cadets and active members regarding
contacts with specific categories of persons within the communities that they serve. This includes
the presentation of training programs relative to emotional control strategies and interactions
with those experiencing mental health concerns.

6.      A portion of the training provided to cadets regarding emotional control, decision-
making, and interactions with those experiencing mental health concerns includes, but is not
limited to:

           a.   Law Enforcement Active Diffusion Strategies (L.E.A.D.S)

                   i. Eight (8) hours of classroom and scenario-based instruction

                  ii. Taught by PSP Instructors

           b.   Identifying Signs and Symptoms of Mental Illness

                   i. Four (4) hours of classroom instruction

                  ii. Taught by personnel from the Pennsylvania Psychiatric Institute (Penn
                      State University)

           c.   Autism Awareness:

                   i. Two (2) hours of classroom instruction

                  ii. Taught by personnel from the Autism Services, Education, Resources, and
                      Training Collaborative

           d. PA Mental Health Laws

                   i. Two (2) hours of classroom instruction

                  ii. Taught by PSP Academy Criminal Law Unit Instructors

           e. Practical Application / Scenario-Based Training

                   i. Every Cadet receives no less than sixteen (16) hours of scenario-based
                      training which in part involves the utilization of de-escalation strategies
                      and/or a role player suffering from a mental health emergency.
      Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 46 of 74




7.      A portion of the training provided to active members of the Department during
Mandatory In-Service Training (“MIST”) regarding emotional control, decision-making, and
interactions with those experiencing mental health concerns includes, but is not limited to:

          a. MIST 2010: Patrol Response to Suicide Bombers

                  i. Two (2) hours of classroom instruction

          b. MIST 2012: Disability, Aggression, and the Assault Cycle

                  i. One (1) hour of classroom instruction

          c. MIST 2013: Missing Endangered Persons Advisory System

                  i. One (1) hour of classroom instruction

          d. MIST 2015: Response Enhancing Arousal Control Techniques

                  i. One (1) hour of classroom instruction

                 ii. Authored by PSP Psychologist

          e. MIST 2016: Tactical Communication and Conflict Management

                  i. One (1) hour of classroom instruction

          f. MIST 2016: Understanding and Effectively Engaging Individuals with Traumatic
             Brain Injuries

                  i. Two (2) hours of classroom instruction

                 ii. Authored by PSP Psychologist

          g. MIST 2017: Tactical Communication Review

                  i. One (1) hour of classroom instruction

          h. MIST 2017: Ti® Use of Force Simulation Training and Use of Force Reaction
             Training

                  i. Three (3) hours of scenario-based training that involves the use of de-
                     escalation strategies and / or a role player suffering from a mental health
                     emergency.

          i. MIST 2018: Practical De-escalation Strategies

                  i. One (1) hour of classroom instruction
       Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 47 of 74




           j. MIST 2018: Use of Force Stress Response Training

                    i. Two (2) hours of scenario-based training that involves the use of de-
                       escalation strategies and / or a role player suffering from a mental health
                       emergency.

           k. MIST 2019: Use of Force Response Training

                    i. Two (2) hours of scenario-based training that involves the use of de-
                       escalation strategies and / or a role player suffering from a mental health
                       emergency.

           l. MIST 2020

                    i. In-person instruction cancelled due to COVID pandemic

8.      The Pennsylvania State Police Bureau of Integrity and Professional Standards continues
to collect data on Department Member’s applications of force via the Blue-Team system. As per
Department Policy, the Department’s Risk Management Officer, on a bimonthly basis, conducts
a query of Early Intervention Program data entries, to identify patterns or trends relating to use of
force incidents which are outside of Department norms.

9.      The Bureau of Integrity and Professional Standards also frequently corresponds with the
Department’s Use of Force Unit within the Bureau of Training and Education to further identify
use of force trends and provide any necessary corrective action through both the operational and
basic training programs. The Use of Force Unit within the Bureau of Training and Education
frequently relies upon numerous resources, to include the United States Department of Justice,
the International Association of Chiefs of Police, and police practice and policy experts, to
ensure its use of force training protocols are founded upon legal and evidence-based principles.

10.     Based on an analysis of Department use of force incidents, use of force training
curriculums were revised in the last few years to include additional hours of training in
communications and de-escalation strategies, deployment of conducted energy weapons,
response to mental health emergencies, and critical thinking and use of force decision making.


I state under penalty of perjury that the foregoing is true and correct.



06/28/2021

   Date                                                Cpl. Kevin E. Selverian
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 48 of 74




                     EXHIBIT 17
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 49 of 74
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 50 of 74
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 51 of 74




                   EXHIBIT 18
                                Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 52 of 74
                                                Mental Health and Shooting Data 2014-2016 Revised


        Mental Health Calls Officer-Involved Shootings       Fatal OIS       OIS w/ MH Issue    Fatal OIS w/ MH Issue
2014            3909                       8                     3                 3                     2
2015            3728                       14                    5                 3                     2
2016            3862                       11                    5                 1                     1


* Mental Health Call = PSP incident with a CAD Call Type of "Mental Health Act", which generally covers 302
commitments or other incidents involving a mental health issue.
* Officer-Involved Shooting = PSP incident wherein a member of PSP used their firearm.
* Fatal OIS = PSP officer-involved shooting ("OIS") incident that resulted in death.
* OIS w/ MH Issue = PSP OIS wherein a review of the incident report suggested that PSP was aware of a mental health
issue or suicidal ideations at the time of the incident.

* Fatal OIS w/ MH Issue = Fatal OIS wherein a review of the incident report sugested that PSP was aware of a mental
health issue or suicidal ideations at the time of the incident.




                                                                     Page 1 of 1
                                                                                                                        DEF003049
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 53 of 74




                   EXHIBIT 19
                             Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 54 of 74
                                                       Mental Health and Shooting Data


        Mental Health Calls Officer-Involved Shootings      Fatal OIS       OIS w/ MH Issue   Fatal OIS w/ MH Issue
2017            2312                      13                    7                 2                    2
2018            2813                      19                    11                5                    4
2019            3862                      14                    4                 4                    2


* Mental Health Call = PSP incident with a CAD Call Type of "Mental Health Act", which generally covers 302
commitments or other incidents involving a mental health issue.
* Officer-Involved Shooting = PSP incident wherein a member of PSP used their firearm.
* Fatal OIS = PSP officer-involved shooting ("OIS") incident that resulted in death
* OIS w/ MH Issue = PSP OIS wherein a review of the incident report suggested that PSP was aware of a mental health
issue or suicidal ideations at the time of the incident.

* Fatal OIS w/ MH Issue = Fatal OIS wherein a review of the incident report sugested that PSP was aware of a mental
health issue or suicidal ideations at the time of the incident.




                                                                    Page 1 of 1
                                                                                                                      DEF002232
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 55 of 74




                        EXHIBIT 20
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 56 of 74




                                                                    DEF0000289
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 57 of 74




                                                                    DEF0000290
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 58 of 74




                                                                    DEF0000291
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 59 of 74




                                                                    DEF0000292
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 60 of 74




                                                                    DEF0000293
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 61 of 74




                                                                    DEF0000294
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 62 of 74




                                                                    DEF0000295
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 63 of 74




                                                                    DEF0000296
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 64 of 74




                                                                    DEF0000297
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 65 of 74




                                                                    DEF0000298
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 66 of 74




                                                                    DEF0000299
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 67 of 74




                                                                    DEF0000300
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 68 of 74




                  EXHIBIT 21
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 69 of 74




                                                                    DEF0000075
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 70 of 74




                    EXHIBIT 22
           Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 71 of 74
DSC_3395
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 72 of 74




                      EXHIBIT 23
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 73 of 74




                                                                    DEF0000105
Case 5:18-cv-05217-EGS Document 76-3 Filed 07/15/21 Page 74 of 74




                                                                    DEF0000106
